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UNITED STATES DISTRICT COURT:
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------X
                                                                                                2/12/2018
                                                          :
RANDY UMANZOR,                                            :
                                                          :
                                         Plaintiff,       :
                                                          :                14-CV-9850 (VSB)
                           -v-                            :
                                                          :              OPINION & ORDER
NEW YORK CITY POLICE DEPARTMENT, :
                                                          :
                                         Defendant. :
                                                          :
---------------------------------------------------------xX

Appearances:

Walker G. Harman, Jr.
Edgar M. Rivera
The Harman Firm PC
New York, New York
Counsel for Plaintiff

Joseph D. Lockinger
Kyle C. Bruno
New York City Law Department
New York, New York
Counsel for Defendant

VERNON S. BRODERICK, United States District Judge:

        Plaintiff Randy Umanzor brings this action under the Americans with Disabilities Act of

1990 (“ADA”), as amended 42 U.S.C. § 12101 et seq., and the New York City Human Rights

Law (“NYCHRL”), N.Y.C. Admin. Code § 8-101 et seq., against the New York City Police

Department (“NYPD”),1 alleging claims resulting from the NYPD’s decision to reject his


1
  Defendant argues that this action should be dismissed because the NYPD is a non-suable entity. (Def.’s Mem. 22.)
Although the NYPD is clearly a non-suable entity, see Jenkins v. City of New York, 478 F.3d 76, 93 n.19 (2d Cir.
2007); Makenin v. City of New York, 53 F. Supp. 3d 676, 689 (S.D.N.Y. 2014), for the purpose of deciding the
instant motions for summary judgment I will construe Plaintiff’s claims as being brought against the City of New
York, without prejudice to any arguments that the City of New York may wish to assert, see Blanton v. City of New
York, No. 12 Civ. 844(DAB)(GWG), 2012 WL 6634177, at *3 (S.D.N.Y Dec. 20, 2012) (“[W]e treat his claims
against [the NYPD] as against the City of New York because ‘the N.Y.P.D. is a nonsuable agency of the City.’”
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application to its Police Cadet Corps after discovering that Plaintiff had been diagnosed with

multiple sclerosis (“MS”). Before me are Plaintiff’s motion for partial summary judgment,

(Doc. 59), and Defendant’s motion for summary judgment, (Doc. 55). Because I find that issues

of fact exist that preclude summary judgment for either party, both motions are DENIED.

                    Background2

           The NYPD is an agency of the City of New York (“City”) responsible for “preserving the

public peace, preventing crime, suppressing riots, mobs and insurrections, dispersing unlawful or

dangerous assemblages, protecting the rights of persons and property, guarding the public health,

preserving order, providing proper police attendance at fires, enforcing and preventing the

violation of all laws and ordinances in force in the city and arresting all persons guilty of

violating any law or ordinance, among other duties.” (Pl.’s Response 56.1 ¶ 3.)3 It “operates as

a para-military organization and relies on the fitness, competence and preparedness of its

membership to ensure its ability to carry out its duties and responsibilities.” (Id. ¶ 5.) In

furtherance of their duties, it is essential that police officers be able to perform certain tasks,

which include various physical activities in a variety of environmental conditions. (Id. ¶¶ 7–8.)

           “The NYPD Police Cadet Corps is a collegiate police apprenticeship program that aims



(quoting Jenkins, 478 F.3d at 93 n.19)); Josey v. N.Y.C. Police Dep’t, No. 07 Civ. 6420(SHS), 2008 WL 2676620,
at *1 & n.1 (S.D.N.Y. July 7, 2008) (substituting the City of New York as defendant in place of the NYPD). In
these circumstances “[t]ypically the Court would grant a dismissal with leave for plaintiff to amend his complaint to
properly name either New York City or the New York City Transit Authority” when amendment would not be futile.
Brennan v. N.Y.C. Police Dep’t, No. 93 CIV. 8461(BSJ), 1997 WL 811543, at *3 (S.D.N.Y. May 27, 1997), aff’d
sub nom., 141 F.3d 1151 (2d Cir. 1998). Because Plaintiff has sufficiently alleged a claim under the ADA, I grant
plaintiff leave to amend his Complaint to include the City of New York as a defendant within thirty (30) days of
issuance of this opinion. See Morris v. N.Y.C. Police Dep’t, 59 F. App’x 421, 423 (2d Cir. 2003) (finding that
plaintiff should be afforded the opportunity to amend the Complaint to name the City of New York as a defendant
when the plaintiff had made allegations that sufficiently served as a basis for liability). “Def.’s Mem.” refers to
Defendant’s Memorandum of Law in Support of its Motion for Summary Judgment, dated April 1, 2016. (Doc. 56.)
2
    The facts in this section are undisputed unless otherwise noted.
3
  “Pl.’s Response 56.1” refers to Plaintiff’s Response to Defendant’s Statement of Undisputed Material Facts Under
Local Civil Rule 56.1, dated April 29, 2016. (Doc. 68.)

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towards integrating police officers, with completed baccalaureate degrees, into the rank and file

members of the New York City Police Department.” (Id. ¶ 9.) To be accepted into the program,

applicants must meet certain minimum educational requirements and pass a candidate screening

process which “includes a medical and a psychological screening and a series of background

investigations.” (Id. ¶¶ 9, 14–15, 17.) The medical screening process consists of a series of

physical tests as well as completion by the applicant, and a review by representatives of the

NYPD, of the applicant’s medical questionnaire. (Id. ¶¶ 18, 21.) The medical screening process

is overseen by the NYPD’s deputy chief surgeon, Dr. David Lichtenstein. (Id. ¶ 19.)

        The questionnaire states that applicants can be disqualified for failure to fill out the form

honestly. (Id. ¶ 23.) An applicant may also be asked to provide additional documentation

related to the questionnaire, and if asked, the applicant is again informed that failure to provide

the requested documents and information may result in disqualification. (Id. ¶¶ 25, 29.)

        In 2012, Plaintiff enrolled at John Jay College of Criminal Justice, and graduated in May

2015 with a degree in Criminal Justice. (Def.’s Response 56.1 ¶¶ 2–3.)4 Plaintiff was formally

diagnosed with MS, a neurological disorder that affects the central nervous system, in May 2013.

(Id. ¶¶ 4–5; Pl.’s Response 56.1 ¶ 85.) The onset of MS can be abrupt or insidious, and the

symptoms are extremely varied. (Pl.’s Response 56.1 ¶ 39.) Furthermore, many clinical

indicators for MS are only observable by monitoring an individual’s condition over a number of

years. (Id. ¶ 51.)

        Although Plaintiff was first formally diagnosed in May 2013, he began experiencing

“weakness and numbness” in his body in January 2013. (Id. ¶ 58.) As a result, he took medical




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  “Def.’s Response 56.1” refers to Defendant’s Response to Plaintiff’s Statement of Undisputed Material Facts
Under Local Civil Rule 56.1, dated April 29, 2016. (Doc. 66.)

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leave from his job as a sales associate. (Id. ¶ 59.) Plaintiff checked himself in to a hospital on

February 1, 2013. (Id. ¶ 61.) Between February and May 2013, Plaintiff began to experience

“minor tingling” in his hand and “numbness” in his left foot, and on April 22, 2013, woke up

with a feeling of numbness in his feet. (Id. ¶¶ 69–70.)

        Plaintiff met with Dr. Kristin Babinski, a neurologist, for the first time on April 25, 2013.

(Id. ¶ 71.) In her clinical notes from that visit, Dr. Babinski indicated that, in addition to the

previously mentioned symptoms, Plaintiff had experienced difficulty walking prior to his

February hospitalization. (Id. ¶ 77.) Dr. Babinski prescribed a steroid medication, (id. ¶ 80), and

later prescribed Tecfidera, (id. ¶ 83). After taking Tecfidera, but before his next appointment

with Dr. Babinski in September 2013, Plaintiff experienced tingling in two fingers on his left

hand. (Id. ¶¶ 86, 88.) On March 28, 2014, Plaintiff had another consult with Dr. Babinski, for

which Dr. Babinski created clinical notes stating that Plaintiff’s fingers were “STILL numb.”

(Id. ¶¶ 92, 94.) Dr. Babinski also noted that Plaintiff had reported severe fatigue,

lightheadedness, a terrible memory, and difficulties in school. (Id. ¶¶ 95–98.)5 At the March 28

visit, Dr. Babinski also prescribed Plaintiff Vyvanse and scheduled MRIs. (Id. ¶¶ 99–100.)

Plaintiff was seen again by Dr. Babinski on May 23, 2014. (Id. ¶ 104.)

        On February 17, 2014, Plaintiff applied to the NYPD’s Police Cadet Corps, (Def.’s

Response 56.1 ¶ 6; Pl.’s Response 56.1 ¶ 107), and on April 8, 2014, reported to the NYPD for a

medical examination, (Def.’s Response 56.1 ¶ 7; Pl.’s Response 56.1 ¶ 109). Plaintiff underwent

a series of physical tests and submitted a medical questionnaire, in which he indicated that he

had MS. (Def.’s Response 56.1 ¶ 8; Pl.’s Response 56.1 ¶¶ 110–11.) Plaintiff was then placed




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  The parties disagree about whether these symptoms were related to Plaintiff’s MS. (Pl.’s Response 56.1 ¶¶ 95–
98.)

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“on review”6 and asked to provide his medical records as well as a letter from his doctor

regarding his MS. (Def.’s Response 56.1 ¶ 9; Pl.’s Response 56.1 ¶ 115.) Plaintiff did not

indicate in his medical questionnaire that he had taken steroids, that he receives Vitamin B12

injections, or that he takes Vitamin D. (Pl.’s Response 56.1 ¶¶ 113–14.)

        Plaintiff requested records and a doctor’s note from Dr. Babinski, but did not review

these materials when he received them from the doctor’s assistant. (Id. ¶ 117.) Plaintiff then

submitted the medical records, along with a letter from Dr. Babinski, to the NYPD on April 15,

2014. (Def.’s Response 56.1 ¶ 10; Pl.’s Response 56.1 ¶¶ 118–21.) The letter from Dr. Babinski

stated that Plaintiff was “medically stable for entry into the NYPD as a cadet” and that his

neurological exam was “normal except for mild sensory loss in the first two fingers on the left

hand.” (Pl.’s Response 56.1 ¶¶ 102, 121.) The parties agree that certain of Plaintiff’s medical

records were not submitted to the NYPD, (id. ¶¶ 72, 74, 79, 93, 127, 142–43); however, they

disagree as to whether this was intentional, (see Def.’s Mem. 8; Pl.’s Opp. 8–9).7

        Dr. Lichtenstein reviewed the records that Plaintiff submitted and ultimately disqualified

him. (Def.’s Response 56.1 ¶¶ 11–12.) Dr. Lichtenstein’s chief concern with Plaintiff’s medical

history in his application was the brief period of time that had elapsed between his MS diagnosis

and the date that he applied to the Police Cadet Corps. (Pl.’s Response 56.1 ¶ 129.)




6
 According to Defendant, “on review” is the “process of asking a candidate to submit additional medical
documentation.” (Pl.’s Response 56.1 ¶ 26.)
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  “Pl.’s Opp.” refers to Plaintiff’s Memorandum of Law in Opposition to Defendant’s Motion for Summary
Judgment, dated April 29, 2016. (Doc. 72.)

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               Procedural History

       Plaintiff commenced the instant action by filing a complaint on December 12, 2014

(“Complaint”), (Doc. 1), and Defendant filed an answer on February 26, 2015, (Doc. 6). On

August 6, 2015, Plaintiff filed a letter requesting a pre-motion conference in anticipation of filing

a motion for partial summary judgment, (Doc. 16), and I denied his request, noting that I would

address any motion for summary judgment when discovery was complete, (Doc. 18). On

October 5, 2015, Plaintiff filed another letter requesting a pre-motion conference related to his

anticipated motion for partial summary judgment, (Doc. 24), and on October 9, 2015, Defendant

responded, indicating that it intended to cross-move for summary judgment, (Doc. 27). On

December 17, 2015, after resolving certain discovery disputes, I held a conference during which

I set a briefing schedule for the parties’ cross-motions for summary judgment. (Doc. 41.) After

granting an extension request, (Doc. 52), on April 1, 2016, Defendant filed its motion for

summary judgment, (Docs. 55–58), and Plaintiff filed his motion for partial summary judgment,

(Docs. 59–60, 62). On April 29, 2016, both Plaintiff, (Docs. 68, 72–75), and Defendant,

(Docs. 65–67), filed their oppositions. After a brief extension, (Doc. 77), Plaintiff filed his reply

on May 20, 2016, (Docs. 79–81), as did Defendant, (Doc. 78).

               Legal Standard

               A.      Summary Judgment

       Summary judgment is appropriate when “the parties’ submissions show that there is no

genuine issue as to any material fact and the moving party is entitled to judgment as a matter of

law.” Fay v. Oxford Health Plan, 287 F.3d 96, 103 (2d Cir. 2002); see also Fed. R. Civ. P.

56(a). “[T]he dispute about a material fact is ‘genuine[]’ . . . if the evidence is such that a

reasonable jury could return a verdict for the nonmoving party.” Anderson v. Liberty Lobby,



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Inc., 477 U.S. 242, 248 (1986). A fact is “material” if it “might affect the outcome of the suit

under the governing law,” and “[f]actual disputes that are irrelevant or unnecessary will not be

counted.” Id.

       On a motion for summary judgment, the moving party bears the initial burden of

establishing that no genuine factual dispute exists, and, if satisfied, the burden shifts to the

nonmoving party to “set forth specific facts showing that there is a genuine issue for trial,”

id. at 256, and to present such evidence that would allow a jury to find in his favor, see Graham

v. Long Island R.R., 230 F.3d 34, 38 (2d Cir. 2000).

       To defeat a summary judgment motion, the nonmoving party “must do more than simply

show that there is some metaphysical doubt as to the material facts.” Matsushita Elec. Indus. Co.

v. Zenith Radio Corp., 475 U.S. 574, 586 (1986). “A party asserting that a fact cannot be or is

genuinely disputed must support the assertion by . . . citing to particular parts of materials in the

record, including depositions, documents, electronically stored information, affidavits or

declarations, stipulations (including those made for purposes of the motion only), admissions,

interrogatory answers, or other materials . . . .” Fed. R. Civ. P. 56(c)(1). In the event that “a

party fails . . . to properly address another party’s assertion of fact as required by Rule 56(c), the

court may,” among other things, “consider the fact undisputed for purposes of the motion” or

“grant summary judgment if the motion and supporting materials—including the facts

considered undisputed—show that the movant is entitled to it.” Fed. R. Civ. P. 56(e)(2), (3).

       Additionally, in considering a summary judgment motion, the Court must “view the

evidence in the light most favorable to the non-moving party and draw all reasonable inferences

in its favor, and may grant summary judgment only when no reasonable trier of fact could find in

favor of the nonmoving party.” Allen v. Coughlin, 64 F.3d 77, 79 (2d Cir. 1995) (citations and



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internal quotation marks omitted); see also Matsushita, 475 U.S. at 587. “[I]f there is any

evidence in the record that could reasonably support a jury’s verdict for the non-moving party,”

summary judgment must be denied. Marvel Characters, Inc. v. Simon, 310 F.3d 280, 286

(2d Cir. 2002).

                  B.   Americans with Disabilities Act

       The ADA provides that “[n]o covered entity shall discriminate against a qualified

individual on the basis of disability in regard to job application procedures, the hiring,

advancement, or discharge of employees, employee compensation, job training, and other terms,

conditions, and privileges of employment.” 42 U.S.C. § 12112(a). Claims brought pursuant to

the ADA are analyzed under the burden-shifting framework set forth in McDonnell Douglas

Corp. v. Green, 411 U.S. 792 (1973). See Sista v. CDC Ixis N. Am., Inc., 445 F.3d 161, 169

(2d Cir. 2006). Under this framework, “[a] plaintiff must establish a prima facie case; the

employer must offer through the introduction of admissible evidence a legitimate non-

discriminatory reason for the discharge; and the plaintiff must then produce evidence and carry

the burden of persuasion that the proffered reason is pretext.” Id.

       To establish a prima facie case under the ADA, a plaintiff must show by a preponderance

of the evidence that “(1) his employer is subject to the ADA; (2) he was disabled within the

meaning of the ADA; (3) he was otherwise qualified to perform the essential functions of his job,

with or without reasonable accommodation; and (4) he suffered adverse employment action

because of his disability.” Id. (quoting Giordano v. City of New York, 274 F.3d 740, 747 (2d Cir.

2001)). The burden on a plaintiff to establish a prima facie case is de minimis. See McDonnell

v. Schindler Elevator Corp., No. 12-CV-4614 (VEC), 2014 WL 3512772, at *5 (S.D.N.Y. July

16, 2014) (citing Abdu-Brisson v. Delta Air Lines, Inc., 239 F.3d 456, 467 (2d Cir. 2001)), aff’d,



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618 F. App’x 697 (2d Cir. 2015). Applying this minimal burden, a plaintiff “only needs to

demonstrate that she possesses the basic skills necessary for performance of the job.” Sista, 445

F.3d at 171 (quoting Owens v. N.Y.C. Hous. Auth., 934 F.2d 405, 409 (2d Cir. 1991)). As the

Supreme Court has noted, an individual is “otherwise qualified” if he “is able to meet all of a

position’s requirements in spite of his handicap.” D’Amico v. City of New York, 132 F.3d 145,

151 (2d Cir. 1998) (quoting Sch. Bd. of Nassau Cty. v. Arline, 480 U.S. 273, 287 n.17 (1987)).

       In evaluating whether a plaintiff was “otherwise qualified to perform the essential

functions of his job,” the ADA’s statutory scheme recognizes what is known as the “direct threat

defense,” which is “meant to be applied in cases alleging discriminatory application of

qualification standards.” Sista, 445 F.3d at 171; see also Makinen v. City of New York, 53

F. Supp. 3d 676, 694 (S.D.N.Y. 2014) (“Inextricably intertwined with a plaintiff’s burden on th[e

‘otherwise qualified’] element is an employer’s potential defense that, because of the employee’s

actual or perceived disability, he or she constitutes a ‘direct threat to themselves or others’ and is

thereby unqualified for the position.” (quoting 42 U.S.C. § 12113(b))). As stated in the ADA:

               It may be a defense to a charge of discrimination under this chapter that an
               alleged application of qualification standards, tests, or selection criteria that
               screen out or tend to screen out or otherwise deny a job or benefit to an
               individual with a disability has been shown to be job-related and consistent
               with business necessity, and such performance cannot be accomplished by
               reasonable accommodation, as required under this subchapter.

42 U.S.C. § 12113(a). The ADA further supplies that “‘qualification standards’ may include a

requirement that an individual shall not pose a direct threat to the health or safety of other

individuals in the workplace,” id. § 12113(b), meaning “a significant risk to the health or safety

of others that cannot be eliminated by reasonable accommodation,” id. § 12111(3). Thus, under

this defense, when a plaintiff poses “a significant risk to the health or safety of others that cannot

be eliminated by reasonable accommodation, that employee is not otherwise qualified to perform

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his or her job.” Sista, 445 F.3d at 170 (internal citation and quotation marks omitted).

       Defendants who assert a direct threat defense bear a “heavy burden.” Doe v. Deer

Mountain Day Camp, Inc., 682 F. Supp. 2d 324, 347 (S.D.N.Y. 2010) (quoting Lockett v.

Catalina Channel Express, Inc., 496 F.3d 1061, 1066 (9th Cir. 2007)). “In order to be a

significant risk, ‘the probability of significant harm must be substantial, constituting more than a

remote or slightly increased risk.’” Makinen, 53 F. Supp. 3d at 694 (quoting Hatzakos v. Acme

Am. Refrigeration, Inc., No. 03-CV-5428 (DLI)(VVP), 2007 WL 2020182, at *9 (E.D.N.Y. July

6, 2007)); see also Lovejoy-Wilson v. NOCO Motor Fuel, Inc., 263 F.3d 208, 220 (2d Cir. 2001)

(“The risk can only be considered when it poses a significant risk, i.e. high probability, of

substantial harm; a speculative or remote risk is insufficient.” (quoting Hamlin v. Charter Twp.

of Flint, 165 F.3d 426, 432 (6th Cir. 1999))). Furthermore, the “‘direct threat defense’ requires

an ‘individualized assessment of the employee’s present ability to safely perform the essential

functions of the job based on a reasonable medical judgment that relies on the most current

medical knowledge and/or on the best available objective evidence.’” Sista, 445 F.3d at 170

(quoting 29 C.F.R. § 1630.2(r)). In conducting the individualized assessment, courts consider

factors such as “(1) the duration of the risk; (2) the nature and severity of the potential harm;

(3) the likelihood that the potential harm will occur; and (4) the imminence of the potential

harm.” Id. (quoting 29 C.F.R. § 1630.2(r)). Further, in order to survive summary judgment, a

defendant must “present the court with objective, medical evidence—such as reliable medical

guidelines, literature, or expert testimony—to establish that their direct threat assessment was

reasonable.” Doe, 682 F. Supp. 2d at 347.

       “If the plaintiff establishes a prima facie case, the defendant must articulate a legitimate

reason for the adverse employment action ‘which, if believed by the trier of fact, would support a



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finding that unlawful discrimination was not the cause of the employment action.’” Schindler

Elevator, 2014 WL 3512772, at *6 (quoting Patterson v. County of Oneida, 375 F.3d 206, 221

(2d Cir. 2004)). “If the defendant proffers such a reason the defendant will be entitled to

summary judgment unless the plaintiff can point to evidence that reasonably supports a finding

of prohibited discrimination.” Id. (quoting Spiegel v. Schulmann, 604 F.3d 72, 80 (2d Cir.

2010)). In other words, the plaintiff must then “demonstrate by competent evidence that ‘the

legitimate reasons offered by the defendant were not its true reasons, but were a pretext for

discrimination.’” Patterson v. County of Oneida, 375 F.3d 206, 221 (2d Cir. 2004) (quoting Tex.

Dep’t of Cmty. Affairs v. Burdine, 450 U.S. 248, 253 (1981)).

                  Discussion

         Defendant moves for summary judgment on essentially two grounds: first, that Plaintiff

cannot establish that he was “otherwise qualified” for the position and, relatedly, that the direct

threat defense applies. (See Def.’s Mem. 3–17.)8 Plaintiff, in turn, moves for partial summary

judgment on liability, arguing that (1) he has established a prima facie case of disability

discrimination, and (2) Defendant cannot proffer a legitimate, non-discriminatory reason for its

refusal to hire Plaintiff. (See Pl.’s Mem. 5–10.)9

         With respect to Plaintiff’s prima facie case, Defendant does not appear to dispute the

first, second, and fourth elements—that the NYPD, through the City of New York, is subject to



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  In addition to the arguments outlined above, Defendant also argues that (1) Plaintiff’s damages should be limited to
the back pay he could have accrued up until the date that his other disqualifying omissions were discovered by the
City, (Def.’s Mem. 17–21), and (2) Plaintiff’s punitive damages claim should be dismissed, (id. at 21–22). Plaintiff
withdrew his request for punitive damages. (Pl.’s Opp. 24.) With respect to Defendant’s argument that Plaintiff’s
damages should be limited to back pay, for reasons stated below, I deny Defendant’s motion because of the material
disputes surrounding the allegedly “disqualifying” omissions. “Pl.’s Opp.” refers to Plaintiff’s Memorandum of
Law in Opposition to Defendant’s Motion for Summary Judgment, dated April 29, 2016. (Doc. 72.)
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  “Pl.’s Mem.” refers to Plaintiff’s Memorandum of Law in Support of his Motion for Partial Summary Judgment,
dated April 1, 2016. (Doc. 62.)

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the ADA, that Plaintiff was disabled within the meaning of the ADA, and that Plaintiff suffered

an adverse employment action because of his disability. (See generally Def.’s Opp. 3–16.)10

Rather, Defendant characterizes the “sole factual and legal issue at the heart of this dispute” as

related to “the NYPD’s determination that Plaintiff was not qualified.” (Id. at 1.) Indeed,

Plaintiff and Defendant both move for summary judgment on this identical question—whether

Plaintiff, aside from his disability, was “otherwise qualified to perform the essential functions of

[the] job,” Sista, 445 F.3d at 169 (quoting Giordano v. City of New York, 274 F.3d 740, 747

(2d Cir. 2001)), a question that is “[i]nextricably intertwined” with whether Plaintiff’s actual or

perceived disability constitutes a “direct threat” to himself or others, Makinen, 53 F. Supp. 3d

at 694 (quoting 42 U.S.C. § 12113(b)).

        The parties do not contest the essential functions of a police officer. (See Pl.’s Response

56.1 ¶¶ 7–8.) These include, among other things, running after fleeing suspects, climbing up

stairs, gripping persons to prevent escape, detecting odors caused by smoke or gas leaks, being

physically active for prolonged periods of time, and intervening in ongoing criminal activity.

(See id.) Plaintiff lacked sufficient information to confirm or deny whether, in screening

candidates for the Police Cadet Corps, the NYPD applies the same processes and qualification

standards that it applies for Police Officer candidates. (See id. ¶ 16.) Moreover, Defendant does

not dispute that individuals with MS are potentially qualified to perform the essential functions

of a police officer—in other words, this condition did not automatically disqualify him as an

applicant—and acknowledges that Dr. Lichtenstein has qualified individuals with MS for

appointment to the NYPD in the past. (See id. ¶ 55 (stating that Plaintiff “lacks sufficient




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  “Def.’s Opp.” refers to Defendant’s Memorandum of Law in Opposition to Plaintiff’s Motion for Partial
Summary Judgment, dated April 29, 2016. (Doc. 65.)

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information to deny or affirm” that Dr. Lichtenstein has “qualified two individuals with MS for

appointment as NYPD police officers” in the past year).)

       At issue here is whether Plaintiff, at the time of his disqualification, was able to perform

the essential functions of police work. In this vein, to prevail on a motion for summary

judgment, Defendant must show either that Plaintiff was not “otherwise qualified” at the time of

his disqualification, or that Plaintiff’s disability constituted a direct threat as determined by an

individualized, reasonable assessment based on current medical knowledge, the best available

evidence, or both; Plaintiff, in turn, must show that there is no genuine dispute of material fact as

to both of these questions. See Makinen, 53 F. Supp. 3d at 695. Each party has failed to meet

their respective burdens; therefore, I find that there are genuine disputes of material fact as to

both issues, and summary judgment on these claims is denied.

               A.      Defendant’s Motion for Summary Judgment

       Defendant contends that Plaintiff was not “otherwise qualified” for the position of a

Police Cadet because Plaintiff failed to (1) provide the NYPD with all of the medical records

requested during the candidate screening process, and (2) disclose certain information on the

medical questionnaire, disqualifying him from serving. (See Def.’s Mem. 6–10.) Defendant

further argues that because Plaintiff had been diagnosed with, and began treatment for, MS in

2013—only the year before he applied to the NYPD—he had not been asymptomatic for a period

long enough to determine his likelihood of relapse. (See id. at 1, 11–17.) Thus, Defendant

claims that the direct threat defense is satisfied. (See id.) Specifically, Defendant explains that

Dr. Lichtenstein’s examination—the nature and extent of which is undisputed—fulfills the

requirement of an individualized assessment based on reasonable medical judgment and,

additionally, that Plaintiff has not met his burden of contesting the reasonableness of



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Dr. Lichtenstein’s ultimate determination. (See Def.’s Reply 5–8.)11

        However, Defendant’s first position rests on disputed facts surrounding whether Plaintiff

intended to omit the relevant medical information and/or whether the omitted information

ultimately would have impacted Dr. Lichtenstein’s decision. Defendant responds to Plaintiff’s

assertions that he did not intentionally misrepresent any facts on his application, (Pl.’s Opp. 7–

13; Pl.’s Response 56.1 ¶¶ 113–14, 145–46), by alleging, in essence, that Plaintiff is lying or

offering claims that are not believable, (Def.’s Reply 3–4, 8). Plaintiff testified during his

deposition that he did not review any of the records sent to him by Dr. Babinski’s office, (Pl.’s

Response 56.1 ¶ 117), and stated that he “lack[ed] sufficient information to affirm or deny”

whether the records submitted to the NYPD represented a complete version of his file as

maintained by Dr. Babinski, (id. ¶ 126). Although Plaintiff’s application did state that “[t]he

undersigned Applicant . . . states that it represents a true account of my medical history with the

understanding that any omission or false statements may result in my disqualification,”

(see Lichtenstein Decl. Ex. E),12 the question of Plaintiff’s intent and the sufficiency of

Dr. Lichtenstein’s examination are questions of fact. These are credibility determinations better

made by a jury. See Primmer v. CBS Studios, Inc., 667 F. Supp. 2d 248, 261 (S.D.N.Y. 2009)

(denying summary judgment with respect to an ADA claim where the case “involve[d] an

assessment of credibility and the resolution of competing inferences from the disputed facts,”

because “[n]either is for the Court to decide”); Quintero v. Rite Aid of N.Y., Inc., No. 09 Civ.

6084(JLC), 2011 WL 5529818, at *17 (S.D.N.Y. Nov. 10, 2011) (“Given the conflicting




11
  “Def.’s Reply” refers to Defendant’s Reply Memorandum of Law in Further Support of its Motion for Summary
Judgment, dated May 20, 2016. (Doc. 78.)
12
  “Lichtenstein Decl.” refers to the Declaration of David I. Lichtenstein, M.D., NYPD Deputy Chief Surgeon, in
Support of Defendant’s Motion for Summary Judgment, dated March 31, 2016. (Doc. 57.)

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versions of events, the Court is called upon to weigh the parties’ evidence and make credibility

determinations, which ‘are jury functions, not those of a judge.’” (quoting Anderson, 477 U.S.

at 255)); see also N.Y. Civ. Serv. Law § 50(4)(f) (“The state civil service department and

municipal commissions may refuse to examine an applicant, or after examination to certify an

eligible . . . who has intentionally made a false statement of any material fact in his

application . . . .”).

           Further, in response to Plaintiff’s argument that he was generally fit for service,

(Pl.’s Opp. 4–7), Defendant essentially argues that Plaintiff’s affidavit is self-serving and

contradictory, and that Dr. Babinski’s affidavit is conclusory, (Def.’s Reply 2–3). This similarly

goes to the weight of the evidence to be put before the jury. See Makinen, 53 F. Supp. 3d at 696

(finding that the defendant’s argument that the plaintiff’s expert misapplied diagnostic tests to

the plaintiff went to the weight of the evidence, not admissibility, and should be explored before

a jury on cross examination). As stated above, Dr. Lichtenstein has qualified individuals with

MS in the past, (see Pl.’s Response 56.1 ¶ 55), and thus there is no evidence that Plaintiff would

have been rejected had the information been produced.

           Similarly, summary judgment on Defendant’s direct threat defense cannot be granted

because there are disputed issues of material fact concerning whether, at the time of

Dr. Lichtenstein’s determination, Plaintiff posed “a significant risk to the health or safety of

others” based on a “reasonable medical judgment.” Sista, 445 F.3d at 170 (internal quotation

marks omitted). Notably, Dr. Babinski sharply disagrees that such an assessment was

reasonable, (see Babinski Aff. ¶¶ 14–15),13 which creates a genuine dispute of fact, see Nelson

v. City of New York, No. 11 Civ. 2732(JPO), 2013 WL 4437224, at *11 (S.D.N.Y. Aug. 19,


13
     “Babinski Aff.” refers to the Affidavit of Kristen Babinski, dated April 1, 2016. (Doc. 75.)

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2013) (“Nonetheless, in light of Plaintiff’s personal therapist’s determination that Plaintiff could

tolerate the stress of the job, a genuine dispute of fact remains as to whether Plaintiff could return

to the NYPD and perform the functions of a police officer.”). Defendant’s description of the

documents that Dr. Babinski relies upon in her affidavit as being of “questionable veracity and

little relevance,” (Def.’s Reply 7), while going to the weight of the evidence, does not eliminate

the dispute. Indeed, Plaintiff raises disputes with respect to several facts surrounding the basis of

Dr. Lichtenstein’s determination, including whether Dr. Babinski’s letter, sent to

Dr. Lichtenstein as part of Plaintiff’s Police Cadet Corps application, was an assessment of

Plaintiff’s ability to perform the essential functions of a police officer; whether Dr. Babinski’s

letter reflected an accurate diagnosis; whether Dr. Lichtenstein considered that letter; and what

Dr. Lichtenstein’s determination was ultimately based on, to list a few. (See, e.g., Pl.’s Response

56.1 ¶¶ 122–24.) For these reasons, Defendant’s motion for summary judgment with respect to

whether Plaintiff was “otherwise qualified,” including whether Plaintiff represented a “direct

threat,” is DENIED.

               B.      Plaintiff’s Motion for Partial Summary Judgment

       For many of the reasons stated above in connection with my denial of Defendant’s

motion for summary judgment, Plaintiff cannot establish, based on the undisputed material facts,

that the direct threat defense does not apply, and thus summary judgment in favor of Plaintiff

cannot be granted. In fact, Plaintiff’s own opposition to Defendant’s motion for summary

judgment on this issue states that “[t]here is a dispute of fact as to whether Plaintiff posed a high

probability of substantial harm to himself and others.” (Pl.’s Opp. 19.) Such a concession, taken

on its own, dictates that Plaintiff’s motion for partial summary judgment must be denied.

       Whether Dr. Lichtenstein’s reliance on the cited medical journals and other materials



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constituted an individualized assessment—leading to a reasonable medical judgment based on

the most current medical knowledge and/or the best available objective evidence—is similarly

disputed. (See Def.’s Response 56.1 ¶¶ 12–13 (disputing that Dr. Lichtenstein disqualified

Plaintiff because of MS, and explaining that the doctor determined that not enough time had

elapsed between Plaintiff’s diagnosis and his Police Cadet Corps application, and that based on

this short time period Dr. Lichtenstein could not safely conclude that the MS would remain

stable or that the maintenance therapy would be effective); id. ¶ 14 (disputing the amount of time

Dr. Lichtenstein believed was required between diagnosis and the point at which there is

certainty that a patient’s MS would not be debilitating); id. ¶ 17 (disputing Plaintiff’s statement

that the NYPD did not request or perform any exams, and thus never physically and

independently assessed Plaintiff’s conditions, by explaining that Plaintiff underwent a medical

screening and submitted an applicant medical questionnaire, which was reviewed by

Dr. Lichtenstein along with Plaintiff’s medical records and Dr. Babinski’s letter).) As a result,

Plaintiff’s motion for partial summary judgment is also DENIED.

               Conclusion

       For the foregoing reasons, Defendant’s motion for summary judgment is DENIED and

Plaintiff’s motion for partial summary judgment is likewise DENIED.

       I grant Plaintiff leave to amend the Complaint to include the City of New York as

Defendant within thirty (30) days of issuance of this opinion. The Clerk of Court is directed to

terminate the pending motions. (Docs. 55, 59.)




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       The parties are directed to appear for a post-discovery conference on March 1, 2018 at

10:30 a.m. in Courtroom 518 of the Thurgood Marshall United States Courthouse, 40 Foley

Square, New York, New York. The parties are further directed to submit a joint letter on or

before February 22, 2018, setting forth proposed trial dates and anticipated length of trial.

SO ORDERED.

Dated: February 12, 2018
       New York, New York

                                                      ______________________
                                                      Vernon S. Broderick
                                                      United States District Judge




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